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            EXHIBIT 8
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                                                                         November 11, 2021


          VIA E-MAIL

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                      Re:         Broidy Capital Mgmt. LLC, et al. v. Muzin, et al., No. 1:19CV150 (D.D.C.)
                                  Protective Order

          Dear Counsel:

                 Following up on our November 8, 2021 Rule 26(f) call, we write to provide a proposed
          way forward regarding the discussions regarding an appropriate Protective Order in this case.

                  We would propose adopting an interim process for the next sixty days to allow time for
          the parties to either reach agreement on the final terms of the Protective Order or go through the
          appropriate judicial process. Under this interim approach, which we hope would alleviate any
          reasonable concerns you have about the disclosure of sensitive information beyond the contours
          of this case, any and all materials obtained through discovery will be automatically designated as
          “Confidential” and be afforded the typical (to be agreed upon) protections associated with such
          designation. Each party would have seven days to request that certain discovery material retain

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              Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons Corner | Washington, D.C. | Wilmington
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Confidential designations and justifying that treatment by providing the factual and legal basis
for retaining the designation on those items. The opposing party would then have seven days to
challenge the continuation of those designations. The parties would meet and confer on a regular
basis in a good-faith effort to narrow disagreements over designations. Unless certain materials
are needed for a filing to the court, the parties would not request judicial intervention to
challenge designations, but rather reserve rights until a Protective Order is in place. All parties
would agree to be judicious and targeted in requesting protection of materials, such as not
designating as Confidential any public records and other information or documents whose
contents are already mostly available in the public domain.

        Although we do appreciate your suggestion that we adopt, during an interim period, an
approach that would rely on an Attorneys-Eyes Only designation process, we see no basis for an
AEO designation in this case. As you know, such provisions are generally disfavored and only
adopted in unique circumstances (i.e., litigation over competitors trade secrets), where the
disclosing party has a discrete and well-founded concern that disclosure to the opposing party
will result in substantial and serious harm. Although we stand ready to address your reasonable
concerns, it is not appropriate for us to sideline our own client, effectively preventing him from
assisting in his own case for the early phases of discovery. That said, in terms of the final PO,
we are willing to consider AEO designation in very limited circumstances, on a case-by-case
basis.

        We hope you find our suggestion to be a reasonable approach for moving forward with
our discussions on the design of a proper PO in this action, and we look forward to hearing from
you. We are, of course, happy to schedule another follow-on call to discuss any of these or other
points.


                                                 Sincerely yours,




                                                 George J. Terwilliger III
